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                  UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                      (TEXARKANA DIVISION)

GHJ HOLDINGS, LLC,          )
                            ) Case No.: 5:11-cv-00073
        Relator,            )
                            )
      vs.                   )
                            )
                            )
FISHER & PAYKEL APPLIANCES ))
INC. AND FISHER & PAYKEL    )
APPLIANCES USA HOLDINGS     )
                            ) JURY TRIAL DEMANDED
INC.,                       )
          Defendants.       )
                            )

       ORIGINAL COMPLAINT FOR FALSE PATENT MARKING

      Relator GHJ Holdings, LLC (“Relator”) alleges as follows:

                           NATURE OF THE CASE

1.    This is an action for false patent marking under section 292 of the Patent Act

(35 U.S.C. §292), which provides that any person may sue to recover the civil

penalty for false patent marking. Relator brings this qui tam action on behalf of

the United States of America.

                                    PARTIES

2.    Relator is a Texas limited liability company with its principal place of

business in Texarkana, Texas.

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3.    Defendant Fisher & Paykel Appliances Inc. is a California corporation with

its principal place of business at 5900 Skylab Road, Huntington Beach, CA 90620

and can be served through its registered agent, Graham Church, 5900 Skylab Road,

Huntington Beach, CA 90620.

4.    Defendant Fisher & Paykel Appliances USA Holdings Inc. is a Delaware

corporation with its principal place of business at 5900 Skylab Road, Huntington

Beach, CA 90620 and can be served through its registered agent, Graham Church,

5900 Skylab Road, Huntington Beach, CA 90620.

                          JURISDICTION AND VENUE

5.    This Court has subject matter jurisdiction over Relator’s false marking

claims under Title 28 U.S.C. §§ 1331 and 1338(a).

6.    This Court has personal jurisdiction over Defendants by virtue of, inter alia,

Defendants’ persistent and continuous contacts with the Eastern District of Texas,

including active and regular conduct of business during the relevant time period

through their sales in the Eastern District of Texas.

7.    This Court has personal jurisdiction over Defendants because, inter alia,

Defendants have violated Title 35 U.S.C. § 292, and falsely marked, advertised,

distributed and sold products in the Eastern District of Texas.        Further, on


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information and belief, Defendants have sold falsely marked products in

competition with sellers of competitive products in the Eastern District of Texas.

Such sales by Defendants are substantial, continuous and systematic.

8.    Venue is proper in this District under Title 28 U.S.C. §§ 1391(b) and (c) and

1395(a).

                                      FACTS

9.    Defendants have marked and/or continue to mark their products, including,

but not limited to, its washing machines and drawer washers collectively referred

to as the “Falsely Marked Products” with expired or otherwise inapplicable patents

including, but not limited to, U.S. Patent Nos. 4,949,557; 5,040,285; 5,150,589;

5,208,931; 5,266,855; 5,271,116; D400,320; D404,856; D460,224; D458,422;

D460,841; D467,691 and D459,853 and Canadian Patent Nos. 1288465; 1317471;

1329235; 1331103; 1331104; 1332434; 1335939, collectively referred to as the

“Expired and Inapplicable Patents.”

10.   Such false marking by Defendants includes marking the Expired and

Inapplicable Patents upon, affixing the Expired and Inapplicable Patents to, and/or

using the Expired and Inapplicable Patents in advertising in connection with the

Falsely Marked Products.


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11.   U.S. Patent No. 4,949,557 was filed September 12, 1989 and issued on

August 21, 1990. It expired no later than September 12, 2009. Nevertheless,

Defendants have marked one or more of the Falsely Marked Products with it after

expiration.

12.   U.S. Patent No. 5,040,285 was filed September 26, 1989 and issued on

August 20, 1991. It expired no later than September 26, 2009. Nevertheless,

Defendants have marked one or more of the Falsely Marked Products with it after

expiration.

13.    U.S. Patent No. 5,150,589 was filed June 4, 1991 as a divisional of U.S.

Patent No. 5,040,285 and issued on September 29, 1992. It expired no later than

September 26, 2009. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

14.   U.S. Patent No. 5,208,931 was filed August 28, 1990 and issued on May 11,

1993. It expired no later than August 28, 2010. Nevertheless, Defendants have

marked one or more of the Falsely Marked Products with it after expiration.

15.   U.S. Patent No. 5,266,855 was filed August 14, 1990 as a continuation of an

application filed May 2, 1988 and issued on November 30, 1993. It expired no




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later than May 2, 2008. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

16.   U.S. Patent No. 5,271,116 was filed January 13, 1993 as a divisional of U.S.

Patent No. 5,208,931 and issued on December 21, 1993. It expired no later than

August 28, 2010. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

17.   Canadian Patent No. 1288465 was filed September 15, 1986 and expired

September 15, 2006. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

18.     Canadian Patent No. 1317471 was filed September 13, 1989 and expired

September 13, 2009. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

19.   Canadian Patent No. 1329235 was filed March 3, 1987 and expired March 3,

2007. Nevertheless, Defendants have marked one or more of the Falsely Marked

Products with it after expiration.

20.   Canadian Patent No. 1331103 was filed March 4, 1987 and expired March 4,

2007. Nevertheless, Defendants have marked one or more of the Falsely Marked

Products with it after expiration.


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21.   Canadian Patent No. 1331104 was filed March 4, 1987 and expired March 4,

2007. Nevertheless, Defendants have marked one or more of the Falsely Marked

Products with it after expiration.

22.   Canadian Patent No. 1332434 was filed September 28, 1989 and expired

September 28, 2009. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

23.   Canadian Patent No. 1335939 was filed September 28, 1989 and expired

September 28, 2009. Nevertheless, Defendants have marked one or more of the

Falsely Marked Products with it after expiration.

24.   Defendant has also falsely marked and/or continues to falsely mark the

Falsely Marked Products by marking them with a blanket patent list or laundry list

of Defendants’ patents obtained or applied for includes many inapplicable patents

including, but not limited to, U.S. Patent Nos. D400,320; D404,856; D460,224;

D458,422; D460,841; D467,691 and D459,853.

25.   For example, the Falsely Marked single drawer washer product this list was

marked on as seen here:




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As an example, however, it is clear as seen below from the picture in U.S. Patent

Nos. D400,320 that it does not cover a product with just one opening.




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26.   Defendants have falsely marked the Falsely Marked Products after the

expiration dates of the Expired and Inapplicable Patents. For example, Defendants

placed the Expired and Inapplicable Patents on Falsely Marked Products by

marking them on the packaging of their products.

27.   Defendants have marked the Falsely Marked Products by printing the

Expired and Inapplicable Patents on the packaging the Falsely Marked Products.

Such markings could have easily been updated to reflect accurate patent

information. Defendants could have easily remarked their products with correct

patents numbers, but decided not to.

28.   It was a false statement for Defendants to mark the Falsely Marked Products

with expired or otherwise inapplicable patents. Defendants knew that the patents

were expired or otherwise inapplicable, but nevertheless marked them on their

products after it expired in an attempt to deceive the public.

29.   Defendants are large, sophisticated companies. Defendants have, and/or

regularly retain, sophisticated legal counsel.     Defendants have many years of

experience applying for patents, obtaining patents, licensing patents, and/or

litigating in patent infringement lawsuits. The patents that Defendants own or have

licensed, including the Expired and Inapplicable Patents, were or are important


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assets to Defendants and are consistently reviewed and monitored in the course of

Defendants’ business.

30.   The expiration date of a U.S. Patent is not readily ascertainable by members

of the public at the time of the product purchase. The patent number itself does not

provide members of the public with the expiration date of the patent. Basic

information about a patent, such as the filing, issue and priority dates associated

with a particular U.S. patent number are available at, for example, the website of

the United States Patent and Trademark Office (“USPTO”). However, access to

the Internet is necessary to retrieve that information (meaning that a consumer may

not have the ability to retrieve the information, especially while he is in a store

making a purchasing decision) and even after retrieving that information, it does

not always include the expiration date of a patent. Rather, a member of the public

must also conduct a burdensome legal analysis, requiring specific knowledge of

U.S. Patent laws regarding patent term expiration. Notably, a correct calculation

of the expiration date must also account for at least: a) any term extensions granted

by the USPTO, which may or may not be present on the face of the patent, and b)

whether or not the patent owner has paid the necessary maintenance fees.

31.   Defendants knew that a patent that is expired does not cover any product.


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 32.   Defendants knew that it was a false statement to mark the Falsely Marked

 Products with an expired or otherwise inapplicable patent.

 33.   Defendants did not have, and could not have had, a reasonable belief that

 their products were properly marked, and Defendants knew or should have known

 that the aforementioned patents had expired.

                 INJURY IN FACT TO THE UNITED STATES

 34.   Defendants’ practice of false marking is injurious to the United States.

 35.   The false marking alleged above caused injuries to the sovereignty of the

 United States arising from Defendants’ violations of federal law, specifically, the

 violation of 35 U.S.C. §292(a). The United States has conferred standing on “any

 person,” which includes Relator, as the United States’ assignee of the claims in this

 complaint to enforce section 292.

 36.   The false marking alleged above caused proprietary injuries to the United

 States, which, together with section 292, would provide another basis to confer

 standing on Relator as the United States’ assignee.

 37.   The marking and false marking statutes exist to give the public notice of

 patent rights. Congress intended the public to rely on marking as a ready means of




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 discerning the status of intellectual property embodied in an article of manufacture

 or design, such as the Falsely Marked Products.

 38.   Federal patent policy recognizes an important public interest in permitting

 full and free competition in the use of ideas that are, in reality, a part of the public

 domain—such as those described in the Expired and Inapplicable Patents.

 39.   Congress’s interest in preventing false marking was so great that it enacted a

 statute that sought to encourage private parties to enforce the statute.            By

 permitting members of the public to bring qui tam suits on behalf of the

 government, Congress authorized private persons like Relator to help control false

 marking.

 40.   The acts of false marking alleged above deter innovation and stifle

 competition in the marketplace for at least the following reasons: if an article that

 is within the public domain is falsely marked, potential competitors may be

 dissuaded from entering the same market; false marks may also deter scientific

 research when an inventor sees a mark and decides to forego continued research to

 avoid possible infringement; and false marking can cause unnecessary investment

 in design around or costs incurred to analyze the validity or enforceability of a




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 patent whose number has been marked upon a product with which a competitor

 would like to compete.

 41.   The false marking alleged above misleads the public into believing that the

 Expired and Inapplicable Patents give Defendants control of the Falsely Marked

 Products (as well as like products), placing the risk of determining whether the

 Falsely Marked Products are controlled by such patents on the public, thereby

 increasing the cost to the public of ascertaining who, if anyone, in fact controls the

 intellectual property embodied in the Falsely Marked Products.

 42.   Thus, in each instance where a representation is made that the Falsely

 Marked Products are protected by the Expired and Inapplicable Patents, a member

 of the public desiring to participate in the market for products like the Falsely

 Marked Products must incur the cost of determining whether the involved patents

 are valid and enforceable. Failure to take on the costs of a reasonably competent

 search for information necessary to interpret each patent, investigation into prior

 art and other information bearing on the quality of the patents, and analysis thereof

 can result in a finding of willful infringement, which may treble the damages an

 infringer would otherwise have to pay.




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 43.   The false marking alleged in this case also creates a misleading impression

 that the Falsely Marked Products are technologically superior to previously

 available products, as articles bearing the term “patent” may be presumed to be

 novel, useful, and innovative.

 44.   Every person or company in the United States is a potential entrepreneur

 with respect to the process, machine, manufacture, or composition of matter

 described in the Expired and Inapplicable Patents. Moreover, every person or

 company in the United States is a potential competitor with respect to the Falsely

 Marked Products marked with the Expired and Inapplicable Patents.

 45.   Each Falsely Marked Product or advertisement thereof, because it is marked

 with or displays the Expired and Inapplicable Patents, is likely to, or at least has

 the potential to, discourage or deter each person or company (itself or by its

 representatives), which views such marking from commercializing a competing

 product, even though the Expired and Inapplicable Patents nothing to prevent any

 person or company in the United States from competing in commercializing such

 products.




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 46.   The false marking alleged in this case and/or advertising thereof has quelled

 competition with respect to similar products to an immeasurable extent, thereby

 causing harm to the United States in an amount that cannot be readily determined.

 47.   The false marking alleged in this case constitutes wrongful and illegal

 advertisement of a patent monopoly that does not exist and, as a result, has resulted

 in increasing, or at least maintaining, the market power or commercial success with

 respect to the Falsely Marked Products.

 48.   Each individual false marking (including each time an advertisement with

 such marking is accessed on the Internet) is likely to harm, or at least potentially

 harms, the public. Thus, each such false marking is a separate offense under 35

 U.S.C. §292(a).

 49.   Each offense of false marking creates a proprietary interest of the United

 States in the penalty that may be recovered under 35 U.S.C. §292(b).

 50.   For at least the reasons stated in paragraphs 2 to 48 above, the false marking

 alleged in this case caused injuries to the sovereignty of the United States arising

 from violations of federal law and has caused proprietary injuries to the United

 States.




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                                       CLAIM

 51.   For the reasons stated in paragraphs 2 to 49 above, Defendants have violated

 section 292 of the Patent Act by falsely marking the Falsely Marked Products with

 intent to deceive the public.

                                 PRAYER FOR RELIEF

 52.   Relator thus requests this Court, pursuant to 35 U.S.C. §292, to do the

 following:

              A.     enter a judgment against Defendants and in favor of Relator

              that Defendants have violated 35 U.S.C. §292 by falsely marking

              products with knowledge that the patents have expired and/or are not

              applicable for the purpose of deceiving the public;

              B.     order Defendants to pay a civil monetary fine of $500 per false

              marking offense, or an alternative reasonable amount determined by

              the Court taking into consideration the total revenue and gross profit

              derived from the sale of falsely marked products and the degree of

              intent to falsely mark the products, one-half of which shall be paid to

              the United States and the other half to Relator;




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             C.     enter a judgment declaring that this case is “exceptional,” under

             35 U.S.C. §285 and award in favor of Relator, and against

             Defendants, the costs incurred by Relator in bringing and maintaining

             this action, including reasonable attorneys’ fees;

             D.     order that Defendants, their officers, agents, servants,

             employees, contractors, suppliers, and attorneys be enjoined from

             committing new acts of false patent marking and be required to cease

             all existing acts of false patent marking within 90 days; and

             E.     grant Relator such other and further relief as the Court may

             deem just and equitable.

                                  JURY DEMAND

 53.   Relator demands a jury trial on all issues so triable.

 Dated: March 9, 2011                          Respectfully submitted,

                                               /s/ Randall T. Garteiser
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